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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION
                       Case No.: 6:22-cv-00816-PGB-LHP

HUMBERTO GUTIERREZ, GLORIA E. )
DIAZ, and other similarly situated )
individuals,                       )
                                   )
             Plaintiffs,           )
                                   )
v.                                 )
                                   )
GEMILANG SOLUTIONS LLC,            )
HAYDE RODRIGUEZ, and JUAN          )
RODRIGUEZ,                         )
                                   )
             Defendants.           )

  JOINT MOTION FOR APPROVAL OF FLSA SETTLEMENT AND TO
     DISMISS CASE WITH PREJUDICE WITH INCORPORATED
                  MEMORANDUM OF LAW

      Plaintiff, HUMBERTO GUTIERREZ and GLORIA DIAZ (“Plaintiffs”), and

Defendants, GEMILANG SOLUTIONS LLC, HAYDE RODRIGUEZ and JUAN

RODRIGUEZ (“Defendants”) (collectively “the Parties”), pursuant to Lynn’s Food

Store, Inc. v. United States, 679 F.2d 1350, 1353, (11th Cir. 1982), jointly request

that this Court make a fairness finding approving the terms of the Parties’ settlement

of the above-captioned matter and dismissing this case with prejudice. The Parties’

Settlement Agreement is attached as Exhibit “A” (the “Agreement”).




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      I.      Legal Principles

      Pursuant to the case law regarding settlement of FLSA claims, there are two

ways in which claims under FLSA can be settled and released by employees. First,

29 USC 216(c) of the FLSA allows employees to settle and waive their claims under

the FLSA if the payment of unpaid wages by the employer to the employee is

supervised by the Secretary of Labor. See 29 U.S.C. 216(c); Lynn’s Food Store, Inc.

v. United States, 679 F.2d 1350, 1353, (11th Cir. 1982). Second, in the context of a

private lawsuit brought by an employee against an employer under section 216(b) of

the FLSA, an employee may settle and release FLSA claims against an employer if

the parties present the district court with a proposed settlement and the district court

enters an Order approving the settlement. Id.; see also Sculte, Inc. v. Gandi, 328 U.S.

108, 66 S.Ct. 925, 928 n. 8, 90 L.Ed. 1114 (1946); Jarrad v. Southeastern Shipbuilding

Corp., 163 F.2d 960, 961 (5th Cir. 1947). In detailing the circumstances justifying

court approval of a FLSA settlement in a litigation context, the Eleventh Circuit stated

as follows:

      Settlements may be permissible in the context of a suit brought by
      employees under the FLSA for back wages because initiation of the
      action by the employees provides some assurance of an adversarial
      context. The employees are likely to be represented by an attorney who
      can protect their rights under the statute. Thus, when the parties submit
      a settlement to the court for approval, the settlement is more likely to
      reflect a reasonable compromise of disputed issues than a mere waiver
      of statutory rights brought by an employer’s overreaching. If a
      settlement in an employee FLSA suit does reflect a reasonable
      compromise over issues, such as FLSA coverage or computation of
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      back wages that are actually in dispute, we allow the district court to
      approve the settlement in order to promote the policy of encouraging
      settlement of litigation.

Lynn’s Food Stores, 679 F.2d at 1354.

      The settlement of the instant action involves a situation in which the Court may

approve the Parties’ settlement to resolve and release Plaintiffs’ FLSA claims against

Defendants. The proposed settlement arises out of an action brought by Plaintiffs

against their former employers.

      The Agreement attached to this Motion (Exhibit “A”), includes every term and

condition of the Parties’ settlement.

      The Parties agree that the instant action involves disputed issues regarding the

Plaintiffs’ claimed unpaid wages and termination and damages potentially available

to Plaintiffs. The Parties further agree that settlement negotiated and reached by the

Parties reflects a reasonable compromise of the disputed issues.        Plaintiffs and

Defendants discussed (extensively) the Plaintiffs’ alleged status as an employee, they

discussed subject matter jurisdiction, the Plaintiffs’ alleged unpaid wages, their pay

rate, the applicability of defenses, calculation of damages, and the applicable statute

of limitations. Based on these discussions, the Parties formulated their own proposed

discovery and trial strategy, and settlement figures.




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      The Parties then engaged in detailed and extensive settlement discussions,

based upon their independent calculations and what they thought were their respective

estimations should the case go to trial.

      Later, the Parties voluntarily agreed to the terms of their settlement at the

conclusion of their negotiations and jointly prepared the Agreement.

      II.    Terms of Settlement

      This case involved, a claim for unpaid wages. The Plaintiffs claimed that they

worked for Defendants as employees of Defendants and that during the time they were

employed they were not properly paid for all hours worked. The Defendants denied

Plaintiffs’ claims.

      The Parties had several in depth discussions on damages and exchanged

detailed information concerning the Plaintiffs’ status, as well as the Plaintiffs’ pay,

hours worked, and time records. Given the Parties' respective positions on the issues

raised in the operative complaint, the Parties agree that they would incur great expense

litigating these issues through trial. Given the amount claimed, and the possibility of

the Plaintiffs’ recovering nothing additional to what was previously offered by the

Defendants, the Parties agree that a global lump sum payment of Eleven Thousand

Five Hundred Dollars ($11,500.00) to Plaintiffs is a fair compromise.

      As a result, the settlement agreed upon in this matter – total payment of Eleven

Thousand Five Hundred Dollars ($11,500.00) as full and final settlement, inclusive of


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attorneys' fees and costs, is fair and equitable under the teachings of Lynn's Food

Stores.

      The Parties have also agreed that the settlement payment will be apportioned as

follows:

      a. As to Gloria Diaz:
            a. $442.31 representing unpaid overtime wages.
            b. $442.31 with no deductions as liquidated damages.

      b. As to Humberto Gutierrez:
            a. $1,390.57 representing unpaid overtime wages.
            b. $1,390.57 with no deductions as liquidated damages

      c. $7,834.24 shall be paid to Plaintiffs’ attorneys as reasonable attorney’s
         fees ($7,107.24) and costs ($727.00)


      The attorney’s fees and costs concerning the above-styled action have been

negotiated and will be paid separately from Plaintiffs’ recovery. Counsel for Plaintiffs

further stipulates that the amount recovered by Saenz & Anderson, PLLC in attorney’s

fees and costs is fair and reasonable, and that they accept this in full satisfaction of the

attorney’s fees and costs incurred on the Plaintiffs’ behalf. A copy of Saenz &

Anderson, PLLC’s declaration and billing records in support of this Motion are

attached as Exhibit “B”.

      The Parties further state that there was no undue influence, overreaching,

collusion or intimidation in reaching the settlement agreement.




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      The Parties, through their attorneys, voluntarily agreed to the terms of their

settlement during negotiations. All Parties were counseled and represented by their

respective attorneys throughout the litigation and settlement process.

      III.   Conclusion

      The Parties jointly and respectfully request that this Court approve the

settlement between the Parties and dismiss the instant action with prejudice.


Respectfully submitted,


 /s/ Julisse Jimenez                          /s/ Jamie L. White
 Julisse Jimenez (FBN: 65387)                 Jamie L. White (FBN: 100018)
 E-mail: julisse@saenzanderson.com            E-mail: jamie@spirelawfirm.com
 R. Martin Saenz                              filings@spirelawfirm.com
 E-mail: msaenz@saenzanderson.com             marcela@spirelawfirm.com
 SAENZ & ANDERSON, PLLC                       2572 West State Rd 426, Suite 2088
 20900 NE 30th Avenue, Ste. 800               Oviedo, Florida 32765
 Aventura, Florida 33180                      Telephone: (407)494.0135
 Telephone: (305) 503-5131                    Counsel for Defendants
 Facsimile: (888) 270-5549
 Counsel for Plaintiffs




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Exhibit A
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                                 SETTLEMENT AGREEMENT AND GENERAL RELEASE

        This Settlement Agreement and General Release (the “Agreement”) is entered into between the
Plaintiffs, HUMBERTO GUTIERREZ and GLORIA DIAZ (“Plaintiffs”) and the Defendants, Gemilang
Solutions, LLC, and HAYDE RODRIGUEZ and JUAN RODRIGUEZ (the “Defendants”).

                                              Section I – General Recitals & Representations

       1.1    Plaintiffs filed a lawsuit against the Defendants alleging claims for alleged violations of the
Fair Labor Standards Act, 29 U.S.C. §§ 201 et. seq. (“FLSA”). See HUMBERTO GUTIERREZ,GLORIA
DIAZ, and other similarly situated individuals, v. Gemilang Solutions, LLC, et al., Case No. 6:22-cv-816-
PGB-LHP (the “Lawsuit”).

        1.2     Defendants deny any and all allegations of wrongdoing, liability or fault. To compromise,
settle and resolve their differences without admitting the validity of or any liability for the claims asserted
by Plaintiffs against Defendants, the parties have elected to voluntarily enter into this Agreement. Plaintiffs
agree that neither this Agreement nor the furnishing of any consideration under this Agreement shall be
construed or interpreted as an admission of any wrongdoing, unlawful conduct, fault or liability by
Defendants.

        1.3     In consideration of these General Recitals & Representations (which are incorporated herein)
and the terms, conditions, promises, covenants, releases and waivers contained in this Agreement, the
parties, intending to be legally bound, agree as follows:


                                      Section II – Release & Payment
        2.1      Mutual Waiver of Claims. Plaintiffs knowingly and voluntarily hereby fully and generally
release and waive any and all claims and actions against Defendants, including but not limited to, claims
arising out of Plaintiff’s employment or relationship with Defendants related to, claims or lawsuits arising
under the Fair Labor Standards Act (“FLSA”), as amended, and The Florida Minimum Wage Act (§448.110
and §24, Article X of the Florida Constitution). This Agreement bars any claim or demand for loss or
damages of any kind, including costs, attorneys’ fees or other expenses related to the action brought in their
Complaint, or that could have been brought in their Complaint. The listing of claims above is intended to
be illustrative rather than exhaustive. Thus, this Agreement constitutes a full and final bar to any and all
claims brought by Plaintiffs in this action or that could have been brought in this action for any and all
claims for alleged unpaid wages and overtime asserted, or which could have been asserted in the Lawsuit.

        Notwithstanding anything written in this Agreement, the Parties acknowledge that Plaintiffs are not
releasing: any pending claim for unemployment, their worker’s compensation or any existing benefits
derived from a worker’s compensation claim with a date of accident 2/16/2022 case no. OJCC# 22-
009310TWS, or to vested benefits under any Employee Retirement Plan sponsored by the Employer; any
rights or claims that may arise after this Agreement is signed; and any rights or claims that by law cannot
be released in this Agreement; or any rights or claims to enforce this Agreement.

       Plaintiffs understand and acknowledge that there may be facts or information which Plaintiffs do
not know or suspect to exist in Plaintiff’s favor at the time Plaintiffs execute this Agreement, and Plaintiffs
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Plaintiff                     Plaintiff                                                               Defendant(s)
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agree that this Agreement is intended to and does extinguish any and all claims Plaintiffs may have based
on such facts or information related to the facts alleged in the Complaint.

        This Agreement may be pled as a fully and complete defense to any action, claim, suit, or any other
proceeding which may be hereafter instituted, prosecuted, or attempted which is covered by any of the
releases in this Agreement.

        Similarly, Defendants knowingly and voluntarily release and waive any and all claims and actions
against Plaintiffs arising out of Plaintiffs’ employment relationship with Defendants, that Defendants may
now have against Plaintiffs regardless of whether the claims are known or unknown, accrued or unaccrued,
or discovered or not yet discovered related to the facts alleged in the Complaint. This release and waiver
includes, but is not limited to, all events, actions, and inactions of Plaintiffs’ or any of Plaintiffs’ agents or
representatives. This Agreement bars any claim or demand for loss or damages of any kind, including costs,
attorneys’ fees or other expenses related to the facts brought in Plaintiffs’ Complaint. However, this
Agreement does not waive rights or claims that may arise after the date this Agreement is executed. Thus,
this Agreement constitutes a full and final bar to any and all claims of any type that Defendants may have
against Plaintiff, as specified in this paragraph.

2.2    Dismissal of Claims / Court Approval. This Agreement shall be submitted to the Court for
approval and/or a fairness hearing in order to have the case dismissed with prejudice.

        2.3    Payment of Consideration by Defendants. In exchange for: (1) Plaintiffs’ release and
waiver of any and all claims (including those for attorneys’ fees and costs) against Defendants; and (2) all
other promises Plaintiffs have made herein, Defendants agree to pay the collective total gross settlement
value of Eleven Thousand Five Hundred Dollars ($11,500.00), inclusive of attorneys’ fees and costs, which
is to be broken down as follows: (a) Plaintiff, Humberto Gutierrez shall receive Two Thousand Seven
Hundred and Eighty One Dollars and Fourteen Cents ($2,781.14); and (b) Plaintiff, Gloria Diaz shall receive
Eight Hundred and Eighty Four Dollars and Sixty-Two Cents ($884.62); and (c) Plaintiff’s counsel shall
receive Seven Thousand One Hundred and Seven Dollars and Twenty Four Cents ($7,107.24) for attorneys’
fees and Seven Hundred and Twenty Seven Dollars and Zero Cents $727.00 for costs. Defendants make no
representation as to the taxability of the amounts paid to Plaintiffs. Plaintiffs agree to pay federal or state
taxes, if any, which are required by law to be paid by Plaintiffs with respect to this settlement. The
settlement value, which resolves all of Plaintiffs’ claims, including for attorneys’ fees and costs, shall be
paid as follows:

            a. As to Gloria Diaz:
                   a. $442.31 representing unpaid overtime wages with the appropriate
                      withholding/deductions for which a W2 shall be issued. Plaintiff Diaz must provide a
                      fully completed and executed IRS Form W-4 to Defendants' counsel along with the
                      executed Agreement.
                   b. $442.31 with no deductions as liquidated damages for which a 1099 shall be issued.
                      Plaintiff Diaz must provide a fully completed and executed IRS Form W-9 to
                      Defendants’ counsel along with the executed Agreement.

            b. As to Humberto Gutierrez:

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Plaintiff                     Plaintiff                                                         Defendant(s)
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                         a. $1,390.57 representing unpaid overtime wages with the appropriate
                            withholding/deductions for which a W2 shall be issued. Plaintiff Gutierrez must
                            provide a fully completed and executed IRS Form W-4 to Defendants’ counsel along
                            with the executed Agreement.
                         b. $1,390.57 with no deductions as liquidated damages for which a 1099 shall be issued.
                            Plaintiff Gutierrez must provide a fully completed and executed IRS Form W-9 to
                            Defendants’ counsel along with the executed Agreement.

            c. $7,834.24 shall be paid to Plaintiffs’ attorneys as reasonable attorney’s fees and costs for which
               separate IRS Forms 1099 shall issue to Saenz & Anderson, PLLC, c/o R. Martin Saenz, Esq.
               Plaintiffs’ counsel must provide a fully completed and executed IRS Form W-9 to Defendants’
               counsel along with the executed Agreement.


        All payments shall be sent via wire transfer or cashier’s check to Saenz & Anderson, PLLC, c/o
R. Martin Saenz, Esq., 20900 NE 30th Avenue, Ste. 800, Aventura, Florida 33180 within ten (10) calendar
days after the Court has dismissed the Lawsuit with prejudice.


2.4     Consideration is Adequate, Ample and All Inclusive: Plaintiffs specifically agree that the sums
paid to them under this Agreement constitute adequate and ample consideration for the rights and claims
that they are releasing and waiving under this Agreement, and for the other obligations imposed upon them
by this Agreement. Plaintiffs agree that they are signing this Agreement, including the release and waiver,
in exchange for good and valuable consideration in addition to anything of value to which Plaintiffs are
otherwise entitled.

                                                            Section III – General Provisions

3.1      Encouragement to Consult Attorney and Time to Consider Agreement. Plaintiffs acknowledge
that they have consulted an attorney before signing this Agreement. Plaintiffs also acknowledge that they
were given a reasonable period of time within which to review and consider this Agreement before signing
it, and that they understand each term of the Agreement and their obligations hereunder.

3.2    Neutral Employment References. Defendants, upon request of a potential employer, will simply
confirm dates of employment, salary, and position(s) for Plaintiffs.

3.3    Effective Date. This Agreement becomes effective and enforceable against the parties upon their
execution of the Agreement.

3.4   Amendment. This Agreement may not be amended except by written agreement signed by
Defendants and Plaintiffs.

3.5     Headings. The headings and other captions in this Agreement are for convenience and reference
only and shall not be used in interpreting, construing or enforcing any of the provisions of this Agreement
or to define or limit the scope of any paragraph of this Agreement.

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Plaintiff                     Plaintiff                                                                      Defendant(s)
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3.6     Governing Law, Severability, Interpretation and Construction. This Agreement shall be
governed and construed in accordance with the laws of the State of Florida. The paragraphs and provisions
of this Agreement are severable; if any paragraph or provision is found to be unenforceable, the remaining
paragraphs and provisions will remain in full effect. If any provision of this Agreement is declared illegal
or unenforceable by an arbitrator or court of competent jurisdiction, and if it cannot be modified to be
enforceable, such provision shall immediately become null and void, leaving the remainder of this
Agreement in full force and effect. The parties hereto acknowledge that this Agreement is a collaborative
effort by the attorneys for the parties and that, as such, no provision of this Agreement shall be more strictly
construed against one party as the draftsperson thereof.

        3.7      Litigation of Disputes. In the event of a dispute as to the interpretation, enforcement,
application or violation of this Agreement, it is understood and agreed that the instant Court shall retain
jurisdiction to resolve such dispute. In addition, the Parties specifically agree that the Court retain the right
to award attorney’s fees in this action and the enforcement of this Agreement.

       3.8      Waiver of Future Employment. Plaintiffs shall not knowingly seek or accept future
employment with Defendants or Defendants’ parent, subsidiaries, and other corporate affiliates or with any
successor or assign. Plaintiffs agree that if Defendants or Defendants’ parents, subsidiaries, and other
corporate affiliates or any successor or assign declines to employ Plaintiffs, they shall not be liable for any
damages.


        3.9    Counterparts. The Parties may execute this Agreement in counterparts, each of which shall
be deemed an original, and all of which taken together shall constitute one and the same instrument. Delivery
of an executed counterpart's signature page of this Agreement, by facsimile, electronic mail in portable
document format (.pdf), or by any other electronic means intended to preserve the original graphic and
pictorial appearance of a document, has the same effect as delivery of an executed original of this
Agreement.


                                                 Section IV – Representations & Warranties

4.1     Capacity of the Parties. The Parties represent and warrant to each other that they have the full
power, capacity, and authority to enter into this Agreement. Plaintiffs also represent and warrant that no
portion of any claim, right, demand, action, or cause of action that Plaintiffs have or might have had arising
out of the acts, events, transactions, and occurrences referred to herein have been assigned, transferred, or
conveyed to any person not a party to this Agreement, by way of subrogation, operation of law, or otherwise,
and that no releases or settlement agreements are necessary or need to be obtained from any other person or
entity to release and discharge completely any of Plaintiffs’ claims released in this Agreement.

4.2     Entire Agreement. This Agreement sets forth the entire agreement between Plaintiffs and
Defendants and shall supersede any and all prior agreements, representations, or understandings, whether
written or oral, between the parties, except as otherwise specified in this Agreement.

4.3   Recitals Incorporated. All of the recitals and representations described above or referred to in this
Agreement are herein incorporated by reference and specifically made a part of this Agreement, and the

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Plaintiff                    Plaintiff                                                                Defendant(s)
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same are acknowledged as having been relied upon by the parties.

4.4      Attorney’s Fees. In any litigation arising out of this Agreement, the prevailing party in such
litigation shall be entitled to recover reasonable attorney's fees and costs at both the trial and appellate levels.
Any rights of injunctive relief shall be in addition to and not in derogation or limitation of any other legal
rights available to Plaintiffs.

THE PARTIES EXPRESSLY REPRESENT AND WARRANT THAT THEY (a) HAVE
CAREFULLY READ THIS AGREEMENT; (b) FULLY UNDERSTAND THE TERMS,
CONDITIONS AND SIGNIFICANCE OF THIS AGREEMENT; (c) HAVE HAD AMPLE TIME
TO CONSIDER AND NEGOTIATE THIS AGREEMENT; (d) HAVE HAD A FULL
OPPORTUNITY TO REVIEW THIS AGREEMENT WITH THE THEIR RESPECTIVE
ATTORNEY AND HAVE DONE SO; AND (e) HAVE EXECUTED THIS AGREEMENT
VOLUNTARILY, KNOWINGLY AND WITH THE ADVICE OF THEIR ATTORNEY.



 HUMBERTO GUTIERREZ                                        Gemilang Solutions, LLC

 By:_____________________________________
     ID D9Mtnc7H2xQzrzESLyRgQrqG                           By:_____________________________________
 Dated:___________________________________
           10/14/2022                                      Name: __________________________________
                                                                      Gemilang Solutions, LLC
                                                           Position: ________________________________
                                                                      Owner
                                                           Dated:___________________________________
 GLORIA DIAZ
                                                                       10 / 24 / 2022
 By:_____________________________________
     ID TKxfsA1opbutS6Gsw8337FkZ


 Dated:___________________________________
             10/14/2022                                    By:_____________________________________
                                                           Dated:___________________________________
                                                                    10 / 24 / 2022



                                                           HAYDE RODRIGUEZ

                                                           By:_____________________________________
                                                           Dated:___________________________________
                                                                    10 / 24 / 2022


                                                           JUAN RODRIGUEZ

                                                           By:_____________________________________
                                                           Dated:___________________________________
                                                                   10 / 24 / 2022




__________         __________                                                                 _______________
Plaintiff          Plaintiff                                                                   Defendant(s)
                                                   Page 5 of 5

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 eSignature Details

 Signer ID:       D9Mtnc7H2xQzrzESLyRgQrqG
 Signed by:       Humberto Gutierrez
 Sent to email:   superbetobross@gmail.com
 IP Address:      97.103.233.57
 Signed at:       Oct 14 2022, 4:13 pm EDT

 Signer ID:       TKxfsA1opbutS6Gsw8337FkZ
 Signed by:       Gloria Diaz
 Sent to email:   gloriitadiaz37@gmail.com
 IP Address:      97.103.233.57
 Signed at:       Oct 14 2022, 5:06 pm EDT




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                14:11:01 UTC             (gemilangsolutions@gmail.com) and Juan and Hayde Rodriguez
                                         (hayde@gemilang.us) from marcela@spirelawfirm.com
                                         IP: 104.136.82.243




                10 / 24 / 2022           Viewed by Juan and Hayde Rodriguez (hayde@gemilang.us)
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                10 / 24 / 2022           Signed by Juan and Hayde Rodriguez (hayde@gemilang.us)
                16:39:18 UTC             IP: 97.100.95.194




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                17:50:34 UTC             (gemilangsolutions@gmail.com)
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                10 / 24 / 2022           Signed by Gemilang Solutions, LLC
                17:54:57 UTC             (gemilangsolutions@gmail.com)
                                         IP: 97.100.95.194




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                                         IP: 104.136.82.243




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                21:03:56 UTC             (gemilangsolutions@gmail.com)
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 Exhibit B
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
                           Case No. 6:22-cv-816-PGB-LHP

 HUMBERTO GUTIERREZ,                     and   )
 GLORIA DIAZ                                   )
                                               )
                 Plaintiff(s),                 )
                                               )
 v.
                                               )
 Gemilang Solutions, LLC and ,                 )
 HAYDE RODRIGUEZ and JUAN                      )
 RODRIGUEZ                                     )
             Defendants.                       )
                                               )
                                               )
                                               )


        DECLARATION OF JULISSE JIMENEZ AS TO ATTORNEY’S
      FEES AND COSTS IN SUPPORT OF THE PARTIES’ JOINT MOTION
      FOR APPROVAL OF FLSA SETTLEMENT AND TO DISMISS CASE
                          WITH PREJUDICE

 1. My name is Julisse Jimenez. I am one of the attorneys of record for Plaintiffs

      HUMBERTO GUTIERREZ and GLORIA DIAZ.

 2. I am over the age of eighteen (18) years and fully competent to testify as to the

      matters set forth in this declaration.

 3. This declaration is based on my personal knowledge of the attorney’s fees and

      costs to be charged and collected, and upon my review of the books and records

      of Saenz & Anderson, PLLC, made and kept in the ordinary course of business.
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 4. I am an attorney with Saenz & Anderson, PLLC and have been a licensed and

    practicing attorney since May 2009. I practice primarily in Southern and Middle

    District Courts of Florida in the area of business and employment law, including

    wage and hour law. Throughout the years, I have successfully litigated,

    numerous cases in the area of employment law.

 5. I have been a member of the Florida Bar since May of 2009. I am also a member

    of the United States District Court for the Southern District of Florida, and the

    United States District Court for the Middle District of Florida.

 6. I have prepared (or collaborated in the preparation) and fully reviewed the

    Parties Joint Motion for Approval of the Settlement and I attest that the Motion

    is well-grounded in fact and law.

 7. The attached billing and expense records specifically indicate the activity

    performed by myself, Ruben Martin Saenz, and the firm associate(s), our

    support team, in prosecuting the above-styled action.

 8. Mr. Saenz and the firm’s legal team are highly experienced in litigating

    employment matters.

 9. I am of the opinion that the number of hours spent was reasonable and necessary

    in light of the nature of this litigation and all of the circumstances surrounding

    it.
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 10. The firm routinely bills all its employment cases for plaintiffs at the rate of

    $400.00 per hour for the professional services that are rendered. My hourly rate

    of $400.00 per hour reflects my skill and experience in litigating employment

    cases and is reasonable considering the relevant legal marketplace. The firm’s

    attorneys, who helped litigate this case also bill at the rate of $400.00 per hour,

    the associate time was billed at $275.00 per hour. Their relevant experience is

    highlighted in the firm’s website (https://www.saenzanderson.com/attorneys/).

 11. Based upon my experience, familiarity with rates charged by other lawyers, and

    fees awarded in similar litigation by federal district courts and state circuit courts

    in Florida, I believe that my rate (and that of those attorneys associated with the

    firm) of $400 per hour is reasonable. I also believe that my law clerk and

    paralegal’s rate ($75 per hour) is also reasonable.

 12. I am of the opinion that the work performed was done efficiently and effectively

    and that the time spent on that work was reasonable and not excessive.

 13. Based on the time spent and the complexity of this action, our fees are $7,107.24.

 14. The undersigned is seeking compensation for attorneys’ fees incurred on behalf

    of Plaintiffs. However, we specifically agree to reduce the firm’s total billing

    invoice to the amount indicated in the settlement agreement and in the motion

    for approval of the FLSA settlement agreement ($7,107.24) because I believe
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    such reduction was necessary to help our client reach a favorable settlement in

    his case.

 15. In addition, my law firm has spent $727.00 on behalf of the Plaintiffs. The

    undersigned is seeking reimbursement in the amount of $727.00.



       UNDER PENALTIES OF PERJURY, I DECLARE THAT I HAVE READ

 THE FOREGOING DECLARATION AND THAT THE FACTS STATED IN IT

 ARE TRUE.




                                       ________________________
                                       JULISSE JIMENEZ, ESQ.
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       Exhibit
         1
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Saenz & Anderson, PLLC
20900 NE 30th Avenue
Ste 800
Aventura, Florida 33180
United States
305-503-5131



Humberto Gutierrez                                                                       Balance         $8,728.25
3552 star key drive                                                                      Invoice #       00537
Kissimmee, FL 34744                                                                      Invoice Date    October 26, 2022
                                                                                         Payment Terms   Due on Receipt
                                                                                         Due Date        October 26, 2022




Gutierrez, Humberto v. Gemilang Solutions, LLC (JJA)

Time Entries

Date         EE    Activity              Description                                             Rate     Hours   Line Total

04/04/2022   UL    Open File                                                                    $75.00     0.50     $37.50
04/07/2022   UL    upload docs           Supporting client documents                            $75.00     0.15     $11.25

                                         client's file and prepare draft complaint; conduct
04/20/2022   RS    Review                                                                      $400.00     1.60    $640.00
                                         research on potential defendants.

04/20/2022   UL    Call with Client      called client to review complaint                      $75.00     0.10       $7.50

04/22/2022   UL    Call with Client      called client to review complaint                      $75.00     0.15     $11.25
04/25/2022   UL    complaint             follow up with client                                  $75.00     0.05       $3.75

04/27/2022   UL    Call with Client      called client for complaint                            $75.00     0.15     $11.25

04/28/2022   AS    Revise and Confer     revise complaint and confer with Ursula Lanfranco.    $275.00     0.60    $165.00
                                         finalize complaint and confer with co-counsel and
04/29/2022   AS    Finalize and Confer                                                         $275.00     0.10     $27.50
                                         Ana Turcios.
                   Review and
04/29/2022   IDA                         complaint for filing                                  $400.00     0.40    $160.00
                   Approve
04/29/2022   AT    File complaint                                                               $75.00     0.80     $60.00
                                         review initial filing and confer with Ursula
04/29/2022   AS    Review and Confer                                                           $275.00     0.10     $27.50
                                         Lanfranco.
                   Receive and
04/29/2022   AS                          notice of judge assignment                            $275.00     0.05     $13.75
                   Review
                   Receive, Review,      receive and review summons issued to the
04/29/2022   AS                                                                                $275.00     0.10     $27.50
                   and Confer            defendants and confer with Ana Turcios.
04/29/2022   UL    Review                uploads                                                $75.00     0.05       $3.75
                   Receive and           ORDER REFERRING CASE to Magistrate Judge
05/02/2022   AS                                                                                $275.00     0.05     $13.75
                   Review                for Report and Recommendations
                                         uploads
05/02/2022   UL    Review                                                                       $75.00     0.15     $11.25
                                         add deadlines
                   Receive and
05/02/2022   AS                          Initial Order on CMR and Deadlines                    $275.00     0.10     $27.50
                   Review
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                                       Court documents received for attorney review and
05/09/2022   UL   upload docs                                                                    $75.00   0.10     $7.50
                                       discussion
05/09/2022   UL   upload docs                                                                    $75.00   0.10     $7.50

05/10/2022   UL   File                                                                           $75.00   0.20    $15.00

                  Receive and
05/10/2022   AS                        returns of service on defendants                         $275.00   0.10    $27.50
                  Review

                  Strategize and
05/10/2022   AS                        with Ursula Lanfranco re status and service              $275.00   0.05    $13.75
                  Confer
05/11/2022   UL   upload docs          Filed in court for file and review                        $75.00   0.15    $11.25

                                       cert of int
05/13/2022   UL   Draft                notice of pendency                                        $75.00   0.35    $26.25
                                       review deadlines
                                       review court order, revise draft notice of pendency
                  Review, Revise,
05/13/2022   AS                        and certificate of interested parties, and confer with   $275.00   0.25    $68.75
                  and Confer
                                       UL
05/13/2022   UL   File                 file and upload                                           $75.00   0.15    $11.25
                  Service of Process
05/17/2022   AT                        Request service of process.                               $75.00   0.50    $37.50
                  on Defendant(s)

                                       review correspondence from OC and deadlines
05/20/2022   AS   Review and Confer    and confer with OC re appearance and answer to           $275.00   0.15    $41.25
                                       complaint
05/24/2022   UL   upload docs                                                                    $75.00   0.10     $7.50

05/24/2022   UL   upload docs          Motion and schedule deadline to respond                   $75.00   0.10     $7.50
                  Receive and          Unopposed MOTION for Extension of Time to File
05/24/2022   AS                                                                                 $275.00   0.05    $13.75
                  Review               Response to Plaintiff's Complaint
05/24/2022   UL   Case Status Report Discuss with attorney                                       $75.00   0.25    $18.75
                                       ORDER granting [11] Defendants' Unopposed
                  Receive and
05/25/2022   AS                        Motion for Extension of Time to Respond to               $275.00   0.05    $13.75
                  Review
                                       Plaintiffs' Complaint
                  Receive and
05/25/2022   AS                        notice setting/reseting deadlines/hearings               $275.00   0.05    $13.75
                  Review
05/25/2022   UL   upload docs          add deadline                                              $75.00   0.10     $7.50
06/07/2022   UL   Case Status Report Discuss deadlines with attorney                             $75.00   0.15    $11.25
                                     FLSA ORDER
06/07/2022   AT   Calendar deadlines RULE 26 DISCLOSURES                                         $75.00   0.90    $67.50
                                     COORDINATE RULE 26 CONFERENCE
06/07/2022   UL   Calendar deadlines From court                                                  $75.00   0.15    $11.25
                  Receive and          FLSA SCHEDULING ORDER and correspondence
06/07/2022   AS                                                                                 $275.00   0.25    $68.75
                  Review               with plaintiff
                                       Try to reach the clients to request documents. Left
06/09/2022   AT   call and text                                                                  $75.00   0.05     $3.75
                                       a text.
06/13/2022   AT   Call with Client     Call for an update on their case.                         $75.00   0.10     $7.50

                  Receive and          ORDER TO SHOW CAUSE as to Gemilang
06/14/2022   AS                                                                                 $275.00   0.05    $13.75
                  Review               Solutions, LLC, Hayde Rodriguez, Juan Rodriguez
                                       review correspondence from OC and confer with
06/14/2022   AS   Review and Confer                                                             $275.00   0.10    $27.50
                                       OC & clerk re conference with OC
                  Review and           review Defendants' ANSWER and affirmative
06/15/2022   AS                                                                                 $275.00   0.25    $68.75
                  Research             defenses and research applicability
                  Review, Strategize, review case status, strategize re settlement &
06/15/2022   AS                                                                                 $275.00   0.55   $151.25
                  and Confer          litigation, and confer with OC
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                  Receive and         CERTIFICATE of interested persons and corporate
06/15/2022   AS                                                                             $275.00   0.05   $13.75
                  Review              disclosure statement

06/16/2022   UL   Review              uploads                                                $75.00   0.10    $7.50
06/16/2022   UL   Review              uploads                                                $75.00   0.10    $7.50
                  Confer and
06/17/2022   AS                       confer with clerk and strategize re discovery         $275.00   0.10   $27.50
                  Strategize

                                      Try to reach the clients to request documents. Left
06/21/2022   AT   call and text                                                              $75.00   0.05    $3.75
                                      a text.
                  Receive and
06/21/2022   AS                       correspondence re conference with OC                  $275.00   0.10   $27.50
                  Review
                                      Try to reach the clients to request documents. Left
06/21/2022   AT   call and text                                                              $75.00   0.05    $3.75
                                      a text.
                  Rule 26
06/21/2022   UL                       Discuss with attorney                                  $75.00   0.15   $11.25
                  Conference
                                      Try to reach the clients to request documents. Left
06/23/2022   AT   call and text                                                              $75.00   0.15   $11.25
                                      a text.
06/23/2022   AT   Call with Client    Call with the clients to request documents.            $75.00   0.05    $3.75

                  Receive and
06/24/2022   AS                       Notice of Pendency of Other Actions                   $275.00   0.05   $13.75
                  Review
06/24/2022   AT   upload docs         Upload client's documents.                             $75.00   0.05    $3.75

                                      Try to reach the clients to request documents. Left    $75.00          $15.00
06/24/2022   AT   Call with Client                                                                    0.20
                                      a text.
06/24/2022   AT   Call with Client    requesting docs                                        $75.00   0.05    $3.75
                                      Try to reach the clients to request documents. Left
06/27/2022   AT   call and text                                                              $75.00   0.10    $7.50
                                      a text.
                                      review client's documents and FLSA Order,
                  Review, Prepare,
06/27/2022   AS                       prepare documents for production, and confer with     $275.00   0.35   $96.25
                  and Confer
                                      clerk and contact client

                                      Requesting documents
06/27/2022   AT   Email Client re:    Court's interrogatories                                $75.00   0.20   $15.00
                                      Witnesses
06/27/2022   AT   Call                OC - Rule 26 Conference                                $75.00   0.05    $3.75
                                      review order requiring CMR and confer with OC re
06/27/2022   AS   Review and Confer                                                         $275.00   0.35   $96.25
                                      discovery, CMR, motions, and deadlines
                  Receive and         UNOPPOSED MOTION TO MODIFY FLSA
06/27/2022   AS                                                                             $275.00   0.05   $13.75
                  Review              SCHEDULING ORDER

                                      regarding conference with client and court's
06/27/2022   AS   confer                                                                    $275.00   0.05   $13.75
                                      interrogatories
                                      call client to request documents, court's
06/28/2022   AT   call and text                                                              $75.00   0.10    $7.50
                                      interrogatories and witnesses
                                      UNOPPOSED MOTION TO MODIFY FLSA
06/28/2022   AT   upload docs                                                                $75.00   0.05    $3.75
                                      SCHEDULING ORDER
                                      Review deadlines and make sure they are being
06/28/2022   UL   Review                                                                     $75.00   0.10    $7.50
                                      worked on.
06/28/2022   AT   Email Client re:    contact us immediately                                 $75.00   0.05    $3.75

                                      Review case tasks and make sure follows up are
06/28/2022   UL   Review                                                                     $75.00   0.05    $3.75
                                      being done.
06/28/2022   UL   upload docs         Upload bates stamped documents                         $75.00   0.15   $11.25

                  Receive and
06/28/2022   AS                       correspondence regarding initial disclosures          $275.00   0.05   $13.75
                  Review
06/28/2022   AT   Call and Email      case status                                            $75.00   0.05    $3.75
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                  Receive and         ORDER granting [18] Unopposed Motion to Modify
06/29/2022   AS                                                                            $275.00   0.05    $13.75
                  Review              FLSA Scheduling Order
                                     Review case. Review tasks and deadlines.
                                     Upload order granting motion to modify.
06/29/2022   UL   Case Status Report                                                        $75.00   0.10     $7.50
                                     Add deadlines.
                                     Update case status reports
                                      review motion for clarification and confer with OC
06/29/2022   AS   Review and Confer                                                        $275.00   0.10    $27.50
                                      regarding motion

                                     confer with clerk, client, and OC regarding
06/29/2022   AS   Confer and Prepare supporting information and prepare additional         $275.00   0.35    $96.25
                                     document production

                                      review defendant's document production and
06/29/2022   AS   Review and Confer                                                        $275.00   0.25    $68.75
                                      confer with clerk
                                      2022-06-29 Time and Pay Records (000001-
06/29/2022   AT   upload docs                                                               $75.00   0.20    $15.00
                                      000067)
06/29/2022   UL   Review              Review uploaded documents from D.                     $75.00   0.10     $7.50

                                      UNOPPOSED REQUEST FOR CLARIFICATION
                                      OR CORRECTION OF CERTAIN DEADLINES
06/29/2022   AT   upload docs                                                               $75.00   0.05     $3.75
                                      CONTAINED IN THE COURT’S JUNE 6, 2022
                                      FLSA SCHEDULING ORDER

                                      Upload MOTION for Clarification re [13] Case
06/30/2022   UL   upload docs                                                               $75.00   0.05     $3.75
                                      Management
06/30/2022   AT   call and text       f/u on requested documents                            $75.00   0.15    $11.25

                  Review, Prepare,    review correspondence from client, prepare
06/30/2022   AS                                                                            $275.00   0.25    $68.75
                  and Confer          document production, and confer with clerk and OC
06/30/2022   AT   upload docs         client paystubs for attorney review                   $75.00   0.20    $15.00

06/30/2022   UL   Review              Review client documents to be uploaded.               $75.00   0.10     $7.50

06/30/2022   UL   Calendar            Review if deadlines in the week have been satisfy.    $75.00   0.15    $11.25
                                      review deadline: Gutierrez/Deadline to file CMR is
07/01/2022   AT   Calendar                                                                  $75.00   0.05     $3.75
                                      due July 5th.

                                      ORDER granting [20] Unopposed Request for
                                      Clarification or Correction of Certain Deadlines
07/01/2022   AT   upload docs                                                               $75.00   0.15    $11.25
                                      Contained in the Court's June 6, 2022 FLSA
                                      Scheduling Order
07/01/2022   UL   task                Review order uploaded and create task.                $75.00   0.15    $11.25

                  Receive and
07/05/2022   AS                       order on request for clarification                   $275.00   0.05    $13.75
                  Review
                                      regarding Plaintiff's answers to Court's
07/05/2022   AS   confer                                                                   $275.00   0.05    $13.75
                                      Interrogatories

07/05/2022   AT   call and text       to request responses to court's ROGS                  $75.00   0.15    $11.25
07/05/2022   AT   Call with Client    Regarding interrogatories                             $75.00   0.05     $3.75

07/05/2022   AS   Confer with Clerk   regarding conference with client                     $275.00   0.05    $13.75

                                      Call client
07/06/2022   AT   Case Review         Schedule phone conf w/Aron                            $75.00   0.20    $15.00
                                      Email client sending D's docs

                                      review correspondence regarding conference with
07/06/2022   AS   Review and Confer                                                        $275.00   0.10    $27.50
                                      client and confer with clerk
                                      review documents produced, strategize/analyze
                  Review, Strategize,
07/06/2022   AS                       regarding damages, and confer with client            $275.00   1.60   $440.00
                  and Confer
                                      Gutierrez and Diaz
07/07/2022   AT   Call with Client    to reschedule phone conf w/Aron                       $75.00   0.15    $11.25

07/07/2022   UL   task                Review pending tasks.                                 $75.00   0.35    $26.25
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                  Receive and           correspondence regarding conference with
07/07/2022   AS                                                                               $275.00   0.05    $13.75
                  Review                plaintiffs

07/07/2022   AS   confer                regarding discovery                                   $275.00   0.05    $13.75
07/08/2022   AS   Review and Confer     review status and confer with clerk                   $275.00   0.05    $13.75

07/08/2022   AT   call and text         to f/u on court's rogs                                 $75.00   0.05     $3.75
                                        Follow up on notarizing the verification page of
07/11/2022   AT   Call with Client                                                             $75.00   0.20    $15.00
                                        court's interrogatories

                                     Review case.
07/11/2022   UL   Case Status Report Review tasks.                                             $75.00   0.10     $7.50
                                     Update case status chart.

                                        review correspondence from Ps regarding court
07/11/2022   AS   Review and Confer                                                           $275.00   0.05    $13.75
                                        interrogatories and confer with clerk
07/11/2022   UL   task                  Review and update.                                     $75.00   0.15    $11.25

07/11/2022   AS   Confer and Prepare confer with clients and prepare answers                  $275.00   1.50   $412.50
                                        2022-07-11 Plaintiffs' Answers to Court's              $75.00
07/11/2022   AT   upload docs                                                                           0.10     $7.50
                                        Interrogatories

07/12/2022   UL   task                  Review pending tasks.                                  $75.00   0.10     $7.50
07/12/2022   AT   Call with Client      Follow up on witnesses info                            $75.00   0.15    $11.25

                                        Follow up to sign and notarize verification page,
07/13/2022   AT   Call with Client                                                             $75.00   0.20    $15.00
                                        send f/u email requesting witnesses
                                        Receive call from client. Answer questions on
07/13/2022   LM   Call                                                                         $75.00   0.15    $11.25
                                        status

07/13/2022   AT   call and text         returned client's call while I was at lunch            $75.00   0.10     $7.50
07/14/2022   AS   Review and Confer     review case status and confer with clerk              $275.00   0.10    $27.50

07/14/2022   AT   call and text         Follow up on signed and notarized verification page    $75.00   0.20    $15.00

                                        review correspondence and confer regarding
07/14/2022   AS   Review and Confer                                                           $275.00   0.10    $27.50
                                        Plaintiffs' documents

                                        email clients to follow up re signed and notarized
07/14/2022   AT   call and text                                                                $75.00   0.15    $11.25
                                        verification page
07/15/2022   AT   upload docs           SIGNED verification pages                              $75.00   0.10     $7.50

                                        Follow up on getting signed the interrogatories &
07/15/2022   AT   Call with Client                                                             $75.00   0.10     $7.50
                                        answers

                                        review correspondence and documents regarding
                                        Plaintiffs' answers to court's interrogatories and
07/15/2022   AS   Review and Confer                                                           $275.00   0.20    $55.00
                                        confer regarding Plaintiffs' answers to court's
                                        interrogatories

                  Finalize, File, and   finalize/file Plaintiffs' discovery responses and
07/18/2022   AS                                                                               $275.00   0.25    $68.75
                  Confer                confer regarding discovery responses
                                        Follow up on the signed and notarize verification
07/18/2022   AT   Call with Client                                                             $75.00   0.05     $3.75
                                        page

07/18/2022   AT   upload docs           2022-07-18 SIGNED Verification Pages (Gutierrez)       $75.00   0.05     $3.75
                                        review correspondence from OC, review
07/18/2022   AS   Review and Confer     correspondence to OC, and confer with OC              $275.00   0.15    $41.25
                                        regarding documents
                                        review order requiring settlement conference with
07/18/2022   AS   Review and Confer     OC and confer regarding settlement conference         $275.00   0.10    $27.50
                                        with OC

                                        OC to coordinate a conference call to discuss
07/18/2022   AT   email                                                                        $75.00   0.20    $15.00
                                        settlement

                                        Ps ANSWERS TO THE COURT’S
07/18/2022   AT   upload docs                                                                  $75.00   0.10     $7.50
                                        INTERROGATORIES
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                  Discovery
07/19/2022   UL                       Review documents and schedule taska                     $75.00   0.15    $11.25
                  responses

                                      review correspondence regarding settlement
07/21/2022   AS   Review and Confer   conference and confer with OC and clerk regarding      $275.00   0.15    $41.25
                                      settlement conference
                                      review correspondence from OC regarding
07/26/2022   AS   Review and Confer   settlement conference date, time, and parties and      $275.00   0.20    $55.00
                                      confer with OC
                  Follow up with
07/26/2022   AT                       Conference re Settlement                                $75.00   0.15    $11.25
                  opposing counsel

07/26/2022   AT   Calendar            Conference w/OC                                         $75.00   0.10     $7.50
                  Settlement
07/27/2022   UL                       Review date for settlement conf                         $75.00   0.10     $7.50
                  Conference

07/27/2022   AS   confer              regarding settlement conference                        $275.00   0.10    $27.50
                                      NOTICE of Appearance by Jamie Lynn White on
                  Receive and
07/27/2022   AS                       behalf of Gemilang Solutions, LLC, Hayde               $275.00   0.05    $13.75
                  Review
                                      Rodriguez, Juan Rodriguez

07/27/2022   UL   upload docs         For attorney review                                     $75.00   0.05     $3.75
                                      schedule a conf w/Aron
07/27/2022   AT   Call with Client    add new attorney to the case                            $75.00   0.30    $22.50

                                      2022-07-27 D's Draft Joint Motion to Conduct            $75.00            $7.50
07/28/2022   AT   upload docs                                                                          0.10
                                      Settlement Conference Remotely

                                      review correspondence from OC regarding
                  Review, Revise,
                                      settlement conference, revise/research propose
07/28/2022   AS   Research, and                                                              $275.00   0.35    $96.25
                                      motion regarding settlement conference, and
                  Confer
                                      confer with OC regarding settlement conference

                  Receive and
08/01/2022   AS                       order of recusal                                       $275.00   0.05    $13.75
                  Review

08/01/2022   AT   upload docs         2022-08-01 ORDER OF RECUSAL                             $75.00   0.05     $3.75

                  Receive and         notice of Case Reassignment to Magistrate Judge
08/02/2022   AS                                                                              $275.00   0.05    $13.75
                  Review              Daniel C. Irick

                                      Case Reassigned to Magistrate Judge Daniel C.
08/02/2022   AT   upload docs                                                                 $75.00   0.10     $7.50
                                      Irick.
                                      review defendant's proposed revisions to motion
08/03/2022   AS   Review and Confer                                                          $275.00   0.20    $55.00
                                      and confer with OC regarding conference

                                      review documents produced, strategize regarding
                  Review, Strategize,
08/03/2022   AS                       resolution and settlement conference, and confer       $275.00   1.10   $302.50
                  and Confer
                                      with clients
                                      review correspondence from OC regarding
08/05/2022   AS   Review and Confer   conference with OC and confer with OC regarding        $275.00   0.10    $27.50
                                      conference with OC

                                      client called to confirm if he has an appt with Aron
                                      today
08/08/2022   AT   Call with Client                                                            $75.00   0.15    $11.25
                                      also f/u on some documents he needs to send to
                                      us
                                      review file and documents produced, prepare for
                  Review, Prepare,
08/08/2022   AS                       conference regarding resolution, and confer with       $275.00   0.75   $206.25
                  and Confer
                                      OC regarding resolution
                                      review correspondence from OC regarding
08/09/2022   AS   Review and Confer   conference with OC and confer with OC regarding        $275.00   0.10    $27.50
                                      conference with OC
                  Receive and         Defendants' Motion for Settlement Conference
08/09/2022   AS                                                                              $275.00   0.10    $27.50
                  Review              Remotely and Incorporated Memorandum of Law
                                      OPPOSED MOTION FOR LEAVE TO CONDUCT
08/10/2022   AT   upload docs                                                                 $75.00   0.10     $7.50
                                      SETTLEMENT CONFERENCE REMOTELY
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08/10/2022   UL   Review              Upload docs for file review by attorney                 $75.00   0.05     $3.75

08/10/2022   UL   task                Review pending tasks                                    $75.00   0.05     $3.75
08/10/2022   AT   Call                w/ Jamie White, transferred to Aron                     $75.00   0.15    $11.25
                                      review correspondence and confer with OC
08/10/2022   AS   Review and Confer                                                          $275.00   0.25    $68.75
                                      regarding case
                  Review and
08/10/2022   AS                       order setting hearing                                  $275.00   0.10    $27.50
                  Strategize
08/10/2022   AS   Draft and File      notice of non-opposition                               $275.00   0.15    $41.25

                  Receive and
08/10/2022   AS                       email from OC misstating conversation                  $275.00   0.05    $13.75
                  Review
                                      NOTICE OF HEARING
                                      P’s NOTICE OF NON-OPPOSITION TO Ds’
08/10/2022   AT   upload docs         MOTION FOR LEAVE TO CONDUCT                             $75.00   0.15    $11.25
                                      SETTLEMENT CONFERENCE REMOTELY
                                      CALENDAR HEARING
08/11/2022   UL   Hearing             Calendar hearing                                        $75.00   0.05     $3.75

                                      ENDORSED ORDER granting [27] Motion for
                  Receive and
08/11/2022   AS                       Leave to Conduct Settlement Conference                 $275.00   0.05    $13.75
                  Review
                                      Remotely

                                      ENDORSED ORDER granting [27] Motion for
08/11/2022   AT   upload docs         Leave to Conduct Settlement Conference                  $75.00   0.10     $7.50
                                      Remotely
08/11/2022   UL   Review              Uploaded docs for deadlines                             $75.00   0.10     $7.50
                                      review correspondence from OC regarding
08/11/2022   AS   Review and Confer   conference and confer with OC regarding                $275.00   0.10    $27.50
                                      conference
                                      Follow up Gutierrez,Humberto/Deadline for
08/11/2022   AT   Deadline                                                                    $75.00   0.10     $7.50
                                      settlement conference
08/12/2022   AT   Calendar            schedule conference w/OC re: settlement                 $75.00   0.10     $7.50
                                      w/OC's assistant to confirm today's meeting and
08/15/2022   AT   Call                                                                        $75.00   0.20    $15.00
                                      send out and calendar invitation
08/15/2022   LM   Meeting             case strategy with attorney and deadlines               $75.00   0.30    $22.50
                                      Review the case with Tanesha & Leslie before
                                      settlement conference
08/15/2022   AT   Case Review                                                                 $75.00   0.40    $30.00
                                      Call OC to give her the call ID to join settlement
                                      conf

                  communicate with
08/15/2022   JJ   opposing counsel    Demand for settlement and Rule 26 disclosures          $400.00   0.50   $200.00
                  re:

08/18/2022   AT   Draft and Confer    Notice of Appearance                                    $75.00   0.20    $15.00
08/19/2022   AT   Case Review         send case update to everyone                            $75.00   0.15    $11.25
                                      Review case
08/22/2022   UL   Case Review                                                                 $75.00   0.20    $15.00
                                      Update chart
08/23/2022   AT   Draft & File        Notice of Appearance for Julisse Jimenez                $75.00   0.20    $15.00
08/24/2022   AT   Calendar            call with clients and JJ                                $75.00   0.10     $7.50

08/24/2022   AT   Case Review         Review case with attorney for case strategy             $75.00   0.20    $15.00
08/24/2022   JJ   Case Status Report strategize on cases                                     $400.00   0.20    $80.00
                                      Review case for allegations that calculations do not
                  Review and
08/24/2022   JJ                       reflect clients being paid straight time. Review       $400.00   1.00   $400.00
                  Analyze
                                      discovery responses
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                  communicate with
                                      Draft email with response regarding straight time
08/25/2022   JJ   opposing counsel                                                          $400.00   0.50   $200.00
                                      and overtime calculations and settlement demand
                  re:
                                      Call with the client to go over documents produced
08/25/2022   AT   Draft and Confer    Amended response to court's interrogatories            $75.00   0.80    $60.00
                                      (attorneys fees and costs)
                                      client will call us back to speak with JJ regarding
08/26/2022   AT   Call with Client                                                           $75.00   0.10     $7.50
                                      settlement offer
08/26/2022   AT   Case Review         with attorney                                          $75.00   0.20    $15.00
08/26/2022   JJ   Case Status Report strategize on case                                     $400.00   0.20    $80.00

08/29/2022   AT   Follow up           client's response to email from JJ                     $75.00   0.10     $7.50

08/30/2022   AT   call and text       Contact attorney for review of pending taks            $75.00   0.10     $7.50
08/31/2022   AT   call and text       clients for case discussion with attorney              $75.00   0.10     $7.50
08/31/2022   AT   call and text       Clients for attorney to provide status of case         $75.00   0.10     $7.50

                  Phone conference
08/31/2022   JJ                       Several phone calls with client                       $400.00   1.00   $400.00
                  with client

                                      to confirm if they agree to the settlement
09/01/2022   AT   Call with Client                                                           $75.00   0.15    $11.25
                                      negotiations

                  Phone conference    To confirm the numbers of hours defendant said
09/01/2022   JJ                                                                             $400.00   0.25   $100.00
                  with client         they worked
09/01/2022   JJ   Draft               Draft settlement email to opposing counsel            $400.00   0.25   $100.00

09/02/2022   UL   Review              Uploads                                                $75.00   0.10     $7.50
09/06/2022   AT   settlement          follow up                                              $75.00   0.15    $11.25
                  communicate with
09/06/2022   JJ   opposing counsel    Settlement negotiations                               $400.00   0.25   $100.00
                  re:
09/06/2022   AT   Follow up           deadlines                                              $75.00   0.10     $7.50

09/06/2022   UL   upload docs         Joint MOTION for Miscellaneous Relief                  $75.00   0.05     $3.75
09/08/2022   UL   upload docs         Upload order met to submit a settlement report         $75.00   0.10     $7.50
09/08/2022   UL   upload docs         Set/reset deadlines/hearings: Settlement Report        $75.00   0.05     $3.75

                                      Gutierrez/Deadline to file CMR &
09/08/2022   AT   Follow up                                                                  $75.00   0.15    $11.25
                                      Gutierrez/Deadline to submit a settlement report
09/14/2022   AT   Draft and Confer    Settlement Report.                                     $75.00   0.55    $41.25

                                      Call clients and WC attorney to approve the
09/14/2022   AT   Call with Client    language to protect his case on the settlement         $75.00   0.40    $30.00
                                      agreement. Email Julisse with his response.

09/14/2022   UL   upload docs         JOINT REPORT REGARDING SETTLEMENT                      $75.00   0.05     $3.75
                                      Tried to reach the clients to schedule a call with
09/15/2022   AT   call and text                                                              $75.00   0.10     $7.50
                                      attorney Julisse Jimenez

                  Follow up with
09/15/2022   AT                       On the settlement agreement.                           $75.00   0.10     $7.50
                  opposing counsel
                                      Tried to reach the clients regarding the settlement
09/19/2022   AT   call and text                                                              $75.00   0.10     $7.50
                                      agreement.
                                      Contact clients on settlement to discuss with
09/19/2022   AT   call and text                                                              $75.00   0.10     $7.50
                                      attorney

09/20/2022   UL   Case Status Report Prepare report on status of case                        $75.00   0.05     $3.75
                                      Schedule a phone conference at 4pm with attorney
09/20/2022   AT   Call with Client                                                           $75.00   0.10     $7.50
                                      to review case status

09/20/2022   UL   Case Status Report Review case at meeting with attorney                    $75.00   0.15    $11.25
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09/20/2022   AT    Call with Client       To inform them about their settlement agreement.         $75.00           0.10        $7.50
                   Follow up with
09/27/2022   AT                           Follow up on settlement negotiations.                    $75.00           0.15       $11.25
                   opposing counsel
                                          Review case
10/04/2022   UL    Case Review            Update chart                                             $75.00           0.15       $11.25
                                          Follow up on settlement
                                          Draft Joint Motion of Approval of Settlement
10/10/2022   AT    Draft and Confer                                                                $75.00           0.40       $30.00
                                          Agreement and Proposed Order.

                                          Review case
10/11/2022   UL    Case Review                                                                     $75.00           0.10        $7.50
                                          Update tasks
                                          Send the Settlement Agreement, w4, and w9 forms
10/12/2022   AT    Email Client re:                                                                $75.00           0.35       $26.25
                                          for their signature.
10/13/2022   TAG   Prepare                Prepare closing statements for clients.                  $75.00           0.35       $26.25
                                          Call the clients to let them know I sent the
10/13/2022   AT    call and text                                                                   $75.00           0.20       $15.00
                                          settlement agreement for their electronic signature.
                                          Update closing statements drafted and send to
10/17/2022   TAG   Prepare                                                                         $75.00           0.30       $22.50
                                          attorney for approval.

                                          Send the executed Settlement agreement, w4, and
10/17/2022   AT    email                                                                           $75.00           0.15       $11.25
                                          w9 to opposing counsel.
10/20/2022   JJ    Case Status Report Strategize on case.                                         $400.00           0.20       $80.00

10/20/2022   AT    Case Review            Meeting with attorney to follow up on settlement         $75.00           0.20       $15.00
10/24/2022   UL    Case Review            Review case. Meeting with attorney on case status        $75.00           0.10        $7.50
                                          Send the Motion for Approval of the Settlement
10/25/2022   AT    Email OC                                                                        $75.00           0.20       $15.00
                                          Agreement to opposing counsel.

                                                                                                   Totals:         42.90    $8,001.25
Expenses

Date         EE    Activity               Description                                                Cost        Quantity   Line Total

04/29/2022   AT    File complaint                                                                 $402.00             1.0     $402.00
                   Flat fee for copying
04/29/2022   AT    and postage per                                                                $100.00             1.0     $100.00
                   retainer agreement
                   Service of Process
05/06/2022   TAG                          To be served on: JUAN RODRIGUEZ                          $75.00             1.0      $75.00
                   on Defendant(s)

                   Service of Process     To be served on: GEMILANG SOLUTIONS LLC
05/06/2022   TAG                                                                                   $75.00             1.0      $75.00
                   on Defendant(s)        C/O HAYDE RODRIGUEZ
                   Service of Process
05/06/2022   TAG                          To be served on: HAYDE RODRIGUEZ                         $75.00             1.0      $75.00
                   on Defendant(s)

                                                                                                         Expense Total:       $727.00


                                                                                                 Time Entry Sub-Total:      $8,001.25
                                                                                                   Expense Sub-Total:        $727.00
                                                                                                             Sub-Total:     $8,728.25


                                                                                                                 Total:     $8,728.25
                                                                                                       Amount Paid:             $0.00

                                                                                                        Balance Due:        $8,728.25
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                                        Legend


         Initials         Name               Title              Hourly Rate
                     RS   R. Martin Saenz         Attorney         $400.00
                    IDA   Ilona Demenina          Attorney         $400.00
                              Anderson
                    JJ     Julisse Jimenez       Attorney          $400.00
                    AA      Aron Smukler        Associate          $275.00
                                                 Attorney
                 UL       Ursula Lafranco     Legal Assistant       $75.00
                 AT         Ana Turcios       Legal Assistant       $75.00
                TAG       Thor A. Garcia      Legal Assistant       $75.00
                LM        Leslie Martinez     Legal Assistant       $75.00
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                                   Billing Legend

                   Name              Title          Hourly Rate   TOTAL
              R. Martin Saenz      Attorney          $400.00      $ 640.00
         Ilona Demenina Anderson   Attorney          $400.00      $ 160.00
              Julisse Jimenez      Attorney          $400.00      $1,740.00
               Aron Smukler        Associate         $275.00
                                   Attorney                       $3,740.00

             Ursula Lafranco         Legal            $75.00
                                    Assistant
                                                                  $ 513.75
               Ana Turcios           Legal            $75.00
                                    Assistant
                                                                  $1,125.00
             Thor A. Garcia          Legal            $75.00
                                    Assistant
                                                                  $   48.75
             Leslie Martinez         Legal            $75.00
                                    Assistant
                                                                  $   33.75
